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                  IN ttHE DISttRICr COuRT OF ttHE UNITED SttATES
                      FOR THE DISTRICtt OF SOUTH CAROLINA
                               COLUMBIA DI∨ ISION

UNITED STATES OF AMERICA                             Criminal No:3:14‑00736

             V,
                                                     PLEA AGREEMENT
ERIC DEAN SMITH
                                General PrOvisions

       This PLEA AGREEMENtt is made this           ,介 〜day or       frPi) , rorr,
between the United States of America, as represented by United States

Attorney WILLIAM N. NETTLES, Assistant United States Attorney Jane B.

Taylor; the Defendant, ERIC DEAN SMITH, and Defendant=s Attorney,
Deborah B. Barbier, Esquire.

       IN CONSIDERATION of the mutual promises made herein, the parties
agree as follows;

1.     The Defendant agrees to plead guilty to Counts 1 and 24 of the
       Superseding Indictment now pending, which charge eConspiracy to

       Possess with Intent to Distribute and to Distribute 5 kilograms

       or more of Cocaine and 28O grams or more of Cocaine Base,e er
       violation of Title 21, United States Code, ' 846 (Count 1) and "Buying,

       Possessing, Transporting and Receiving an Animal in Interstate

       Commerce for Participation in an Animal Fighting Venture," a

       violation of Title 7, United States Code,5 2156 (Count 24).

       In order to sustain its burden of proof, the Government is required tcr
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  prove the fo‖ owing:

  Count i

  (1)   The conspiracy described in the Superseding lndictrnent to
        distribute the charged amount of contro‖ ed substances was
        wi‖ fu‖ y forrned and was existing at or about the alleged tirne,


  (2) The defendant willfully became a member of the conspiracy,and

  (3)   丁he defendant distributed a quantity of a contro‖ ed substance(s)
        equalto orin excess ofthe amount charged in count l′ agreed to
        assist in the distribution of a quantity of cOntro‖ ed substance(S)
        equal to or in excess of the amount charged in Count l′ or the
        distribution of the threshold quantity of contro‖ ed substance(S)
        equal to or in excess of the amount charged in count l was
        reasonably foreseeable to the defendant and same vvas within the
        scope of the defendantis agreement and understanding。

 The penalty for this offense is:

        21 USC 841(a)(1)′ 841(b)(1)(A)― in a Case involving 5 kilograms
        or rnore of cocaine and 280 grams or rnore of cocaine base′ and
        two or rnore prior felony drug convlctions― a mandatory terrrl oF
        life imprisonment′ no probation′ no parole′ a Fine of$20′ 000′ 000F
        plus a special assessment of$100.

 Count 24

 (1)    丁he defendant knowlngly bought′         possessed′ transported Or
        received an anirlnal,

 (2)    丁he defendant did so for the purpose of having the anirlnal
        participate in an anirnal fighting venture′ that is′ any event′ in or
        affecting interstate or foreign cornrnerce′ that involves a Fight
        conducted between at least two anirnals for purpose of sport′
        wagering or entertainment′ but not including hunting.

 The penalty for this offense is:

        7 USC 2156(b)′ 18 USC 49‑a maximum term ofimpttsonment of
        ■ve(5)yearS′ a fine of$250′ 000′ and a terrn of supervised release

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            of 3 years, plus a special assessment of $100.

2.    The defendant understands and agrees that monetary penalties I i.e.,

      special assessments, restitution, fines and other payments required

      under the sentencel imposed by the Court are due immediately and

      subject to enforcement by the United States as civil judgments,
      pursuant to 18 USC , 3613. The defendant also understands that

      payments made in accordance with installment schedules set by the

      Court are minimum payments only and do not preclude the government

      from seeking to enforce the judgment against other assets of the
      defendant at any time, as provided in 18 USC ' , 3612, 3613 and

      3664(m).

      The Defendant further agrees to enter into the Bureau of Prisons Inmat€:

      Financial Responsibility Program if sentenced to a term of incarceration

      with an unsatisfied monetary penalty, The Defendant further
      understands that any monetary penalty imposed is not dischargeable irr

      bankruptcy.

      A.    Special Assessment: Pursuant to 18 U.S.C. ,3013, the Defendant

            must pay a special assessment of 9100.00 or each felony count for

            which he/she is convicted. This special assessment must be paicl

            at or before the time of the guilty plea hearing.

      B.    Restitution: The Defendant agrees to make full restitution under


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            18 U.S.C. , 3556 in an amount to be determined by the Court at

            the time of sentencing, which amount is not limited to the count(s)

            to which the Defendant pled guilty, but will include restitution to

            each and every ideniifiable victim who may have been harmed by

            her scheme or pattern of criminal activity, pursuant to 18 U.S.C. ,

            3663 and as more fully set forth in paragraph 14 below. The

            Defendant agrees to cooperate fully with the Government in

            identifying all victims.

      C.    Fines: The Defendant understands that the Court may impose a

            fine pursuant to 18 U.S.C. gg 3571 and 3572.
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      Provided the Defendant complies with all the terms of this Agreement,

      the United States agrees to move to dismiss the remaining counts of the

      Superseding Indictment [and any other indictments under this number]

      at sentencing. The Defendant understands that the Court may consider

      these dismissed counts as relevant conduct pursuant to ,181.3 of the

      United States Sentencing Guidelines.

4.    The Defendant understands that the obligations of the Governmenl:
      within the Plea Agreement are expressly contingent upon thel
      Defendant=s abiding by federal and state laws and complying with any

      bond executed in this case, In the event that the Defendant fails tcr

      comply with any of the provisions of this Agreement, either express or


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      implied, the Government will have the right, at its sole election, to void

      all of its obligations under this Agreement and the Defendant will not

      have any right to withdraw his plea of guilty to the offense(s)
      enumerated herein.

                         Coooeration and Forfeiture
5.    The Defendant agrees to be fully truthful and forthright with federal,

      state and local law enforcement agencies by providing full, complete and

      truthful information about all criminal activities about which he/she has

      knowledge. The Defendant must provide full, complete and truthful
      debriefings about these unlawful activities and must fully disclose and

      provide truthful information to the Government including any books,

      papers, or documents or any other items of evidentiary value to the

      investigation. The Defendant must also testify fully and truthfully
      before any grand juries and at any trials or other proceedings if called

      upon to do so by the Government, subject to prosecution for perjury for

      not testifying truthfully. The failure of the Defendant to be fully truthful

      and forthright at any stage will, at the sole election of the Government,

      cause the obligations of the Government within this Agreement to

      become null and void. Further, it is expressly agreed that if the

      obligations of the Government within this Agreement become null anci

      void due to the lack of truthfulness on the part of the Defendant, the


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         Defendant understands that:

               a. the Defendant will not be permitted to withdraw
                     his/her plea of guilty to the offenses described above;

               b.    all additional charges known to the Government may
                     be filed in the appropriate district;

               c.    the Government will argue for a maximum sentence
                     for the offense to which the Defendant has pleaded
                     guilty; and

               d.    the Government will use any and all information and
                     testimony provided by the Defendant pursuant to this
                     Agreement, or any prior proffer agreements, in the
                     prosecution of the Defendant of all charges.

6        The Defendant agrees to submit to such polygraph examinations as may

         be requested by the Government and agrees that any such examinations

         shall be performed by a polygraph examiner selected by the
         Government. Defendant further agrees that his/her refusal to take or
         his/her failure to pass any such polygraph examination to the
         Government=s satisfaction will result, at the Government=s sole

         discretion, in the obligations of the Government within the Agreement

         becoming null and void.

フ   .    The Government agrees that any self-incriminating information providecl

         by the Defendant as a result of the cooperation required by the terms of

         this Agreement, although available to the Court, will not be used againsl:

         the Defendant in determining the Defendant=s applicable guideliner
         range for sentencing pursuant to the U.S, Sentencing Commission

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      Guidelines. The provisions of this paragraph shall not be applied to
      restrict any such information:

            a.    known to the Government prior to the date of
                  this AgreemenU

            b.    concerning the existence of prior convictions
                  and sentences;

            c.    in a prosecution for perjury or giving a false
                  statement; or

            d.    in the event the Defendant breaches any of the
                  terms of the Plea Agreement.

8.    Provided the Defendant cooperates pursuant to the provisions of this

      Plea Agreement, and that cooperation is deemed by the Government as

      providing substantial assistance in the investigation or prosecution of

      another person, the Government agrees to move the Court for a
      downward departure or reductlon of sentence pursuant to United States

      Sentencing Guidelines '5K1.1, Title 18, United States Code, ' 3553(e)

      or Federal Rule of Criminal Procedure 35(b). Any such motion by the
      Government is not binding upon the Court, and should the Court deny

      the motion, the Defendant will have no right to withdraw his/her plea.

9.    The Defendant stipulates and agrees that he has two or more prior
      felony drug convictions that have become final and that the Attorneys for

      the Government have filed an Information pursuant to 21 U.S.C. ' 851

      which subjects him to enhanced penalties. The Defendant further


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       stipulates and agrees that this paragraph and the Information that has

       been filed pursuant thereto fulfills the requirements of ' 851, including

       service, and constitutes adequate and sufficient notice of a prior felony

       drug conviction for purposes of that statute. The Defendant agrees to

       not contest the Information that has been filed pursuant to 21 U,S.C.

       851 in accordance with this paragraph.

10.    Provided the Defendant cooperates and complies with all the provisions

       of this Plea Agreement, the Attorneys for the Government agree to
       withdraw at sentencing an enhancement or enhancements contained in

       the Information previously filed pursuant to 21 U.S.C. ' 851, such that

       the Defendant should be held accountable for one prior felony drug
       conviction described in that Information. As a result. the Defendant:

       would face a mandatory minimum sentence of 20 years.


11.    The Defendant agrees to voluntarily surrender to, and not to contest the

       forfeiture of, any and all assets and property, or portions thereof, which

       are subject to forfeiture pursuant to any provision of law, including but

       not limited to, property in the possession or control of the Defendant or

       Defendant's nominees. Specifically, the defendant agrees to voluntarily

       surrender and not contest the forfeiture of property identified in the

       Superseding Indictment, and any forfeiture Bill oF pafticulars, and a

       money judgment in the amount of 9945,000.00, representing the

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 amount of gross proceeds ofthe offense(s)Of COnViCtion.

 FoHowing the entry of this plea agreement′ defendant agrees to the

 court′ s prompt entry of a Prelirninary order of Forfeiture incorporating a

 moneyjudgment as rnandated by Fed.R,Crim.P.32.2′ which sha‖ in any

 event′     be subrnitted for entry before sentencing.             Defendant
 acknowiedges that he understands that the entry of a forfeiture rnoney

 judgment is part of the sentence that will be imposed in this case′      and

 waives any failure by the Court to advise hirn of this′ pursuant to Rule

 ll(b)(1)(3)or otherwise′ at any tirne his guilty plea is accepted.


          (1)   Any property, real and personal, constituting or derived
                from any proceeds the Defendant obtained, directly or
                indirectly, as the result of the criminal course of conduct:
                charged in the Superseding Indictment, and all property
                traceable to such property;

          (2)   Any prop€rty, real and personal, used or intended to be used
                in any manner or part, to commit or to facilitate the
                commission of such violations;

          (3)   Any firearms and ammunition involved in violations of Title:
                21, United States Code, firearms violations, or any other
                criminal law of the United States;

          (4)    Money Judgment:
                The Defendant consents to the entry of a personal money
                judgment against the Defendant and in favor of the Unitecl
                States in the amount of $945,000 in United States currency,
                with interest, as of the date of entry of judgment;

          (5)   Firearms / Ammunition:

                a.    Bernardelli (mod.60) 7.65

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                    Serial No. 61906
                    Seized from: Eric Smith's residence

              b.    Smith and Wesson (revolver).38
                    Serial No. D511658
                    Seized from: Eric Smith's residence

              c.    Bond Arms Snake Slayer 45colt
                    Serial No. 72554
                    Seized from: Eric Smith's residence

              d.    Charter Arms Bulldog (revolver).44
                    Serial No. 243159
                    Seized from: Eric Smith's residence

              e.    Ruger Rifle (t0/22 w/scope) .22
                    Serial No. 247-67410
                    Seized from: Eric Smith's residence

        (6) Other ProPertY:
            a. Approximately $862.00 in U.S. currency seized on
                    October L, 2014, from Eric Smith

              b.    Approximately $11,065.00 in U.S. currency seized on
                    October l, 20L4, from Eric Smith

              c.    Approximately $1,500.00 in U.S. currency seized on
                    October 24,2414 from Eric Smith's residence

              d.    1 Shop press seized on October 1, 20L4 from the
                    residence of Eric Smith

              e.    1 Dog treadmill seized on October t,20L4 from the
                    residence of Eric Smith

              f.    All dogs seized on October L,2A14; October 24, ?0t4;
                    and November 15, 2014 from the property of Eric
                    Smith and any puppies born from such seized dogs as
                    delineated in the Superseding Indictment
  With regard to each and every asset Iisted in the Superseding Indictment

  or seized in a related investigation or administrative, state, or local
 action, the Defendant stipulates and agrees:

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    The Defendant agrees and consents to the forfeiture of these assets
    pursuant to any federal crlminal, civil judicial or administrative
    forfeiture action. The Defendant also hereby agrees to waive all
    constitutional, statutory and procedural challenges in any manner
    (including direct appeal, habeas corpus, or any other means) to any
    forfeiture carried out in accordance with this Plea Agreement on any
    grounds, including that the forfeiture described herein constitutes an
    excessive fine, was not properly noticed in the charging instrument,
    addressed by the Court at the time of the guilty plea, announced at
    sentencing, or incorporated into the judgment.


    To its forfeiture herein, if necessary as substitute property under 21
    U.S.C. 5 853(p), as made applicable by 1B U.S.C. 5 982(b)(1) or any
    other statute, or in a separate administrative or civil judicial
    proceeding.


    That the Defendant has or had a possessory interest or other legal
    interest in each item or prope*y.


    To assist the United States in the recovery of all assets by (i) taking
    whatever steps are necessary or requested by the United States to
    pass clear title to the United States; (ii) preventing the disbursement
    of any moneys and sale of any property or assets; (iii) not
    encumbering or transferring any real estate after the Defendant's
    signing of this Plea Agreement; and (iv) directing all financial
    institutions to turn over and surrender to the United States all funds
    and records regarding accounts listed in any document signed by the
    Defendant pursuant to this plea agreement, as criminal proceeds or
    substitute property.


    The Defendant waives all rights to notice of forfeiture under Rule 32.2
    and of any other action or proceeding regarding such assets. The
    Defendant consents and waives all rights to compliance by the United
    States with any applicable deadlines under 18 U.S.C. S 983(a). Any
     related administrative claim filed by the Defendant is hereby.
    withdrawn.


    Pursuant to Rule 32.2(b)(4), the Defendant agrees that the
    preliminary order of forfeiture will satisfy the notice iequirement
                                                                          ancl
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    will be final as to the Defendant at the time it is entered. In the
    event the forfeiture is omitted from the judgment, the Defendant
    agrees that the forfeiture order may be incorporated into the written
    judgment at any time pursuant to Rule 36.


    If the United States discovers that the Defendant has not fully
    disclosed all assets, the United States may seek forfeiture of any
    subsequently-discovered assets, and the Defendant agrees to the
    immediate forfeiture of any such assets.


    The Defendant further agrees to make a full and complete disclosure
    of all assets over which Defendant exercises control and those which
    are held or controlled by nominees. The Defendant agrees that
    Federal Rule of Criminal Procedure 11 and U.S.S.G. 5 181.8 will not
    protect from forfeiture, assets disclosed by the Defendant as part of
     his cooperation, The Defendant further agrees to submit to a
     polygraph examination on the issue of assets if it is deemed
     necessary by the United States.


    The Defendant agrees to waive any double jeopardy claims the
    Defendant may have as a result of a forfeiture proceeding against any
    of these properties as provided for by this Plea Agreement and agrees
    to waive any claims that the forfeiture described herein constitutes an
    excessive fine.


     Forfeiture of the Defendant's assets shall not be treated as
     satisfaction of any fine, restitutlon, cost of imprisonment, or any'
     other penalty the Court may impose upon the Defendant in addition
     to forfelture. The United States may use the value of forfeited
     property for restitution, but is not required to do so.


    The assets to be forfeited specifically include, but are not limited to, a
    money judgment representing the amount of gross proceeds of the
    offense(s) of conviction.


    The Defendant agrees that the United States shall, at its option, be
    entitled to the forfeiture of any property (substitute assets) of the:
    Defendant up to the value of the money judgment. The Court shall
    retain jurisdiction to setfle any disputes arising from application of
    this clause. The defendant agrees that forfeiture ofsubsiitute assetr;

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           as authorized herein shall not be deemed an alteration of the
           Defendant's sentence.


          The Defendant agrees to take all steps necessary to identify and
          locate all substitute assets and to transfer custody of such assets to
          the United States before the Defendant's sentencing. The Defendant
          agrees to take all steps necessary to assist the government in
          obtaining clear title to any substitute assets before the Defendant's
          sentencing. In addition to providing full and complete information
          about substitute assets, these steps include, but are not limited to,
          the surrender of title, the signing of a consent decree of forfeiture,
          and signing of any other documents necessary to effectuate such
           tra n sfe rs.


12.     The Defendant further agrees to the following:

        a. To surrender to the American Society for the Prevention of Cruelty tc
           Animals ("ASPCA") the dogs seized on October 1, 2014; October 24,

           2014; and November L5, 2014 from the property of the defendant,

           Eric Smith, and any puppies born from the seized dogs.

        b. To make full restitution for the full amount of the costs associated
           with the disposition of all dogs as determined by the Court al:
           sentencing. Such costs may include, but are not limited to, all costs
           associated with the care, removal, upkeep, and placement of the

           seized dogs while this case was ongoing and, if necessary, humane:

           euthanasia.

        c. To the imposition of a lifetime ban on dog ownership.
                              Merqer and Other provisions
13.    The Defendant represents to the court that he/she has met with his/her.

       attorney on a sufficient number of occasions and for a sufflcient period
                                                                                    of

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     time to discuss the Defendant=s case and receive advice; that the
     Defendant has been truthful with his/her attorney and related all

     information of which the Defendant is aware pertaining to the case; that

     the Defendant and his/her attorney have discussed possible defenses, if

     any, to the charges in the Superseding Indictment including the
     existence of any exculpatory or favorable evidence or witnesses,

     discussed the Defendant=s right to a public trial by jury or by the Court,

     the right to the assistance of counsel throughout the proceedings, the

     right to call witnesses in the Defendant=s behalf and compel their
     attendance at trial by subpoena, the right to confront and cross-examine

     the government=s witnesses, the Defendant=s right to testify in his/her

     own behalf, or to remain silent and have no adverse inferences drawn

     from his/her silence; and that the Defendant, with the advice of counsel,

     has weighed the relative benefits of a trial by jury or by the Court versus

     a plea of guilty pursuant to this Agreement, and has entered this
     Agreement as a matter of the Defendant=s free and voluntary choice,

     and not as a result of pressure or intimidation by any person.

14. The Defendant is aware that 18 U.S.C. , 3742 and 28 U.S.C. , 22Ss
     afford every defendant cerlain rights to contest a conviction and/or
     sentence. Acknowledging those rights, the Defendant, in exchange for
     the concessions made by the Government in this prea Agreement,
     waives the right to contest either the conviction or the sentence in any

    direct appear or other post-conviction action, incruding any proceedings

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       under 28 U.S.C. 2255, (This waiver does nat apply to claims of

       inefFective assistance of counsel or prosecutorial misconduct raised

       pursuant to 28 U.S.C. ' 2255.)

15, The Defendant waives all rights, whether asserted directly or by a
       representative, to request or receive from any department or agency of

       the Unlted States any records pertaining to the investigation or
       prosecution of this case, including without limitation any records that

       may be sought under the Freedom of Information Act, 5 U.S.C. ' 552, or

       the Privacy Act of L974, 5 U.S.C. ' 552a.

16. The parties hereby agree that this Plea Agreement contains the entire
       agreement of the parties; that this Agreement supersedes all prior

       promises, representations and statements of the parties; that this

       Agreement shall not be binding on any party until the Defendant tenders

       a plea of guilty to the court having jurisdiction over this matter; that this

       Agreement may be modified only in writing signed by all parties; ancl

       that any and all other promises, representations and statements,
       whether made prior to, contemporaneous with or after this Agreement,

       are null and void.

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DATE                                              ERIC DEAN SMTTH,
                                                  Defendant


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DAttE                                             Debbrah B.Barbier
                                                  Attorney for the Defendant


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                                          WILLIAM N.NETTLES
                                          UNIttED STATES ATTORNEY
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